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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                          Case No.: 19−24968−CMG
                                          Chapter: 7
                                          Judge: Christine M. Gravelle

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Safe Harbor Construction Group Inc.
   7 E. Main Street
   Tuckerton, NJ 08087
Social Security No.:

Employer's Tax I.D. No.:
  45−5277276

                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Thomas Orr is discharged as trustee of the estate of the above named debtor(s) and the bond
is canceled; and the case of the above named debtor(s) is closed.


Dated: September 8, 2023                          Christine M. Gravelle
                                                  Judge, United States Bankruptcy Court
